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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                             ________________________
Bobby Wayne Stone,                        )
                                          )
                             Petitioner,  )
               vs.                        )            C/A No. 2:17-cv-01221-MGL-MGB
                                          )
Bryan P. Stirling, Commissioner,          )
South Carolina Department of Corrections; )
Lydell Chestnut, Deputy Warden,           )               JOINT STATUS REPORT
Broad River Correctional Institution,     )
                                          )
                                          )
                             Respondents. )
____________________________________)

         The parties make this joint status report pursuant to the Court’s order dated August 13,

2024. [ECF No. 164]. Petitioner’s state post-conviction relief action with his claim of intellectual

disability, see Atkins v. Virginia, 536 U.S. 304 (2002), remains pending. The Honorable William

P. Keesley remains assigned to the state action. Judge Keesley held the Atkins hearing on July

30-31, 2024, and he has allowed the parties to submit post-hearing briefing after receipt of the

transcript. The parties are presently waiting for the transcript to be delivered so briefing may

begin.

                                              Respectfully submitted,

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                                  [signatures continue on next page]


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October 14, 2024




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